     Case: 1:19-cv-07652 Document #: 18 Filed: 02/10/20 Page 1 of 1 PageID #:53

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

John Adamidis
                               Plaintiff,
v.                                                    Case No.: 1:19−cv−07652
                                                      Honorable Manish S. Shah
Cook County, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 10, 2020:


       MINUTE entry before the Honorable Manish S. Shah: Defendant Cook County's
Motion for Entry of Order in Lieu of Answer [16] is granted. Enter Order. No appearance
on the motion is necessary. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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